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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

VERSUE L. DUPONT, general
administrator and administrator ad HON JERGME B. SIMANDLE
prosequendum of the estate of
LAKEISHA R. MAYNER-DUPONT, Civil Action No. 1:15 CV 03752 (JBS)(AMD)
deceased, and VERSIE L. DUPONT,
individually, (SO ORDERED) CONSENT DECREE

Plaintiffs,
v.
UNlTED STATES OF AMERICA, et al.,

Defendants.

 

 

Upon consent by and between the Plaintiffs and Defendant the United States of America
(collectively, the "Parties"), through their undersigned attorneys, the Parties hereby request in the
above-captioned action that the claims against the Defendant be dismissed with prejudice, and
that the Parties bear their own costs except as otherwise specified in the Parties' settlement
agreement, it is hereby:

ORDERED that this action is hereby dismissed with prejudice

ANDRES & BERGER WILLIAM E. FITZPATRIGK
Acti g United St s Attorney

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By:

ordan M. Angen/
Assist;ant United States At.torney
Attorney for the Defendants

 

 

so oRDERED this 114 siday of september, 2017
BY THE CoURT;

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J@&oME B. SIMANDLE
United States District Judge

